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                                                                                         United States District Court
                                                                                           Southern District of Texas

                                                                                              ENTERED
                           IN THE UNITED STATES DISTRICT COURT                            December 16, 2016
                           FOR THE SOUTHERN DISTRICT OF TEXAS                              David J. Bradley, Clerk

                                    HOUSTON DIVISION

UNITED STATES OF AMERICA                           §
                                                   §
V.                                                 §            MAGISTRATE NO. H-16-1752M
                                                   §
TRAYVEES DUNCAN-BUSH                               §


                            ORDER OF DETENTION PENDING TRIAL

        In accordance with the Bail Reform Act, 18 U.S.C. § 3142(f), a detention hearing has been
held. I conclude that the following facts are established by a preponderance of the evidence or clear
and convincing evidence and require the detention of the above-named defendant pending trial in
this case.

                                           Findings of Fact

[ ] A. Findings of Fact [18 U.S.C. § 3142(e), § 3142(f)(1)].

     [ ] (1)     The defendant has been convicted of a (federal offense) (state or local offense that
                 would have been a federal offense if a circumstance giving rise to federal jurisdiction
                 had existed) that is

                      []     a crime of violence as defined in 18 U.S.C. § 3156(a)(4).

                      []     an offense for which the maximum sentence is life imprisonment or
                             death.

                      []     an offense for which a maximum term of imprisonment of ten years or
                             more is prescribed in 21 U.S.C. ( ) § 801 et seq. ( ) § 951 et seq.
                             ( ) § 955(a).

                      []     a felony that was committed after the defendant had been convicted of
                             two or more prior federal offenses described in 18 U.S.C. § 3142(f)(1)
                             (A)-(C), or comparable state or local offenses.

          [ ] (2) The offense described in finding 1 was committed while the defendant was on release
                  pending trial for a federal, state or local offense.

          [ ] (3) A period of not more than five years has elapsed since the (date of conviction)
                  (release of the defendant from imprisonment) for the offense described in finding 1.
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       [ ] (4) Findings Nos. 1, 2, and 3 establish a rebuttable presumption that no condition or
               combination of conditions will reasonably assure the safety of any other person and
               the community. I further find that the defendant has not rebutted this presumption.

[X]    B.        Findings of Fact [18 U.S.C. § 3142(e)]

       [X] (1)       There is probable cause to believe that the defendant has committed an offense

                     []     for which a maximum term of imprisonment of ten years or more is
                            prescribed in 21 U.S.C.
                            ( ) § 801 et seq. ( ) § 951 et seq. ( ) § 955(a).

                     [X]    under 18 U.S.C. § 924(c).

       [] (2) The defendant has not rebutted the presumption established by finding 1 that no
              condition or combination of conditions will reasonably assure the appearance of the
              defendant as required and the safety of the community.

[X]    C.        Findings of Fact [18 U.S.C. § 3142(f)(2)]

       [X] (1) Defendant is accused of conspiracy to interfere with commerce by robbery in
              violation of 18 U.S.C. § 1951(a) and aiding and abetting with use of a firearm in
              furtherance of a crime of violence in violation of 18 U.S.C. § 924(c).

       [X] (2) There is a serious risk that the defendant will flee.

       [X] (3) Defendant represents a danger to the community.

       [ ] (4) There is a serious risk that the defendant will (obstruct or attempt to obstruct justice)
               (threaten, injure, or intimidate a prospective witness or juror, or attempt to do so).

[X]    D.        Findings of Fact [18 U.S.C. § 3142(c)]

       [ ] (1) As a condition of release of the defendant, bond was set as follows:

       [ ] (2)

       [X] (3) I find that there is no condition or combination of conditions set forth in 18 U.S.C.
              § 3142(c) which will reasonably assure the appearance of the defendant as required.

       [X] (4) I find that there is no condition or combination of conditions set forth in 18 U.S.C.
               § 3142(c) which will reasonably assure the safety of any other person or the
               community.


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                            Written Statement of Reasons for Detention

        I find that the accusations in the criminal complaint, information submitted in the Pretrial
Services Agency report, and information at the detention hearing establish by a preponderance of the
evidence that no condition or combination of conditions will reasonably assure the appearance of
the defendant as required and by clear and convincing evidence that no conditions will assure the
safety of the community.

       I conclude that the following factors specified in 18 U.S.C. § 3142(g) are present and are to
be taken into account:

       1.      Defendant is a 28 year old U.S. citizen who born in Austin, Texas. He most recently
               lived in Austin with his mother. His father and sister are incarcerated. He has one
               child who lives in the Houston area. He was last employed as a laborer with Dr.
               Pepper Corporation in Austin. He reported past use of marijuana.

       2.      Defendant's criminal history includes a juvenile charge of aggravated robbery with
               a deadly weapon, charges of unauthorized use of a motor vehicle and evading arrest,
               two felony convictions for aggravated robbery, and a felony conviction for
               aggravated assault with a deadly weapon. He was on parole at the time of the current
               offense.

       3.      Defendant is accused of conspiracy to interfere with commerce by robbery in
               violation of 18 U.S.C. § 1951(a) and aiding and abetting with use of a firearm in
               furtherance of a crime of violence in violation of 18 U.S.C. § 924(c). He faces a
               potential penalty of up to twenty years in prison.

       4.      There is no condition or combination of conditions of release which would assure the
               appearance of the defendant in court or the safety of the community. Detention is
               ordered.

                                  Directions Regarding Detention

       It is therefore ORDERED that the defendant is committed to the custody of the Attorney
General or his designated representative for confinement in a corrections facility separate, to the
extent practicable, from persons awaiting or serving sentences or being held in custody pending
appeal. The defendant shall be afforded a reasonable opportunity for private consultation with
defense counsel. On order of a court of the United States or on request of an attorney for the
Government, the person in charge of the corrections facility shall deliver the defendant to the United
States Marshal for the purpose of an appearance in connection with all court proceedings.




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 Signed at Houston, Texas, on December 14, 2016.




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